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         EXHIBIT A-3
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                    UNITED STATES DISTRICT COURT
           NORTHERN DISTRICT OF CALIFORNIA, SAN JOSE DIVISION




APPLE INC., a California Corporation,

           Plaintiff (Counterclaim-Defendant),

      v.
                                                          Civil Action No. 12-cv-00630-LHK

SAMSUNG ELECTRONICS CO., LTD., a
Korean corporation; SAMSUNG ELECTRONICS
AMERICA, INC., a New York corporation;
SAMSUNG TELECOMMUNICATIONS
AMERICA, LLC, a Delaware limited liability
company,

           Defendants (Counterclaim-Plaintiffs).




                            REBUTTAL EXPERT REPORT OF
                                    DAVID REIBSTEIN



                                     September 13, 2013
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         Price
         1) $199
         2) $299
         3) $449
         4) $599

         28.      The products presented to the respondents as part of the first stage of the surveys

were intended to represent hypothetical Samsung smartphones or tablets.52 Respondents were

asked to assume that in addition to the various features and levels shown in each choice task,

each of the four hypothetical smartphones or tablets had all other features and levels that were on

their most recent Samsung smartphone or tablet.53 Respondents were informed that one in twenty

respondents would be selected at random to win the option of receiving a smartphone or tablet

and that the smartphone or tablet offered to the winning respondent would be based on the

choices each winning respondent made in the surveys with regard to the feature categories in the

surveys.54

         29.      Using each of the respondent’s choices in the first part of his conjoint study

(where respondents are asked to choose among four hypothetical products), Professor Hauser

estimated the contribution of each level within a feature category relative to the other levels of


52
   Hauser Report, at ¶46.
53
   Hauser Report, at ¶46.
54
   Hauser Report, at ¶70. Respondents were also told that the features with regard to other features not in the survey
would be as close as possible to those of the smartphone or tablet they otherwise would have chosen in the
marketplace. Respondents were informed that if the smartphone or tablet offered to a winning respondent was priced
below $300 and $600 respectively, and if the respondent chose the offered smartphone or tablet, the respondent
would also get the difference in cash.




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                          Damn You Auto Correct, an entire site dedicated to the auto
                          correct’s failures.92

        47.      Clearly, there are multiple outcomes that are possible with this feature – mostly

positive, but some negative. To more accurately describe this feature, Professor Hauser could

have used a description that did not lead the respondent to believe that it always resulted in

replacement of text that was meant to be replaced.93 Unlike the description used in Professor

Hauser’s survey, a more balanced description would not have suggested that the feature’s impact

on the user was always necessarily positive, but rather that a positive outcome was one

possibility.

        48.      As an example, I have provided alternative descriptions of the Automatic Word

Correction feature along with Samsung’s non-infringing alternative, below. These descriptions

correct at least some of the flaws discussed above.94 In these descriptions, I have presented the

non-infringing alternative as an alternative feature rather than what the user would get (i.e., have

to settle for) if he or she was unable to have the patented feature, as is suggested by Professor

Hauser’s description. My description seeks to avoid leading the respondent to think that the




92
   http://www.businessinsider.com/how-to-fix-iphone-auto-correct-2012-2?op=1 (viewed September 13, 2013).
93
   In fact, I myself have experienced the negative side of this feature on many occasions by sending messages with
words that I had never meant to type. In these situations, the Automatic Word Correction feature automatically
inserted the wrong text, without me noticing.
94
   Note that there are several different ways that one can correct this description to make it more accurate, less
biased, and more complete. I have provided only one illustrative example.




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patented feature is necessarily preferred over the alternative – which is something Professor

Hauser did not do in his description.

       49.     Presenting the non-infringing alternative as a separate feature with its own

advantages, albeit different, than the advantages associated with the patented feature, is

important because this most closely mirrors the real world purchase environment that would

have existed if Samsung could not use the patented feature. That is, if Samsung could not offer

the patented feature, it would market the alternative feature in a positive light, similar to how it

would market the patented feature. Samsung would never describe the alternative feature in

terms of what it could not do relative to other features that Samsung could not offer.

       50.     In my alternative descriptions, below, I have identified how they differ from

Professor Hauser’s descriptions. Version 1 is a description of the patented feature. Version 2 is a

description of one of Samsung’s non-infringing alternatives.

                       Automatic Word Correction (Version 1). As you type, your
                       smartphone [tablet] displays text you typed in a text box, and at the
                       same time provides suggested replacement text in a separate box
                       alongside the text box that displays what you actually typed. The
                       This version of the Automatic Word Correction feature allows you
                       to automatically replace your original text with suggested text
                       when, for example, you press space to move on to the next word
                       you want to type, or you press period to end the sentence. For
                       example, if you type “birfday” and then press space or period, you
                       will automatically replace it with “birthday.”

                       Automatic Word Correction (Version 2). Without this feature,
                       pressing space or period would retain your original text, “birfday”;
                       if you want to replace your original text, you would need to select
                       the suggested “birthday” yourself. As you type, your smartphone


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                       [tablet] displays text you typed in a text box. This version of the
                       Automatic Word Correction feature allows you to automatically
                       replace your original text with suggested text when, for example,
                       you press space to move on to the next word you want to type, or
                       you press period to end the sentence. For example, if you type
                       “birfday” and then press space or period, you will automatically
                       replace it with “birthday.” In this version of Automatic Word
                       Correction, the suggested text does not appear in a separate box but
                       rather appears when it replaces the original text.

       51.     This is a very different presentation of a non-infringing alternative version of the

Automatic Word Correction feature than the one used by Professor Hauser in his surveys. It

presents the alternative in a positive light, as something that the user gets, rather than has to settle

for if he or she was unable to obtain the patented feature. It also makes clear that the alternative

allows for automatic, rather than just manual word correction when using the devices.

       52.     I understand that the description used by Professor Hauser related to the

Background Syncing feature also does not accurately describe the feature allegedly made

possible by the ’414 patent. Professor Hauser provided the following description of this feature

in his smartphone and tablet survey:

                       Background Syncing. The Background Syncing feature allows
                       you to continue to use an app while data related to that app that is
                       stored on your smartphone [tablet] synchronizes with data stored
                       elsewhere, such as on a remote computer. For example, you can
                       access and edit data, such as the list of contacts on your
                       smartphone [tablet], even as your phone [tablet] is sending data for
                       those contacts to your work computer. Without this feature, you




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                            Q:       So we're not necessarily clear on that one then?
                            A:       Right.162

           121.     In this case, based on the name of the feature, the respondent appears to believe

that Background Syncing enables a phone to search for local network connections as the user

moves among locations. The respondent fails to understand the key aspect of Professor Hauser’s

description of this feature, which has to do with being able to use an application while a

synchronization is occurring. This level of confusion among respondents that have just listened

to the video descriptions and read the text descriptions of the patented features suggests that

there is a fatal problem with Professor Hauser’s descriptions themselves and/or that the nature of

the features and Samsung’s alternatives are too subtle and nuanced for respondents to

understand.

           122.     My parallel pretest revealed similar misunderstanding regarding the Quick Links

feature. One respondent stated:

                            Q:       Quick Links, tell me what that icon means to you.
                            A:       Quick Links, that's where it's detecting phone numbers, like
                                     in your e-mail address and stuff. You basically click on it,
                                     like on the phone number or on the e-mail too and compose
                                     the e-mail or call.
                            Q:       If your phone does not have the Quick Links icon, what
                                     would you be doing instead?


162
      Exhibit 8 (Chicago-2: Respondent 6).




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                 6.       Professor Hauser’s failure to account for critical aspects associated with
                          the purchase of complex products renders his analysis unreliable.
        223.     Ultimately, Professor Hauser’s analysis is based on the assumption that

respondents would care about and be extraordinarily well-informed about the functionalities

associated with the patented features. In fact, the evidence suggests the contrary. Smartphone

consumers have limited means by which to understand the granular distinctions associated with

the patented functionalities and academic research suggests that consumers do not employ the

type of systematic feature comparison upon which his conjoint analysis is based. In effect,

Professor Hauser has skipped steps by assuming that the patented functionalities would have

entered into consumer purchase decisions without haven taken any meaningful steps to verify

that such was the case. Given evidence to the contrary, his analysis does not provide a

meaningful basis by which to make inferences about actual marketplace behavior.

                 7.       The reliability of the output generated by Professor Hauser’s survey is
                          undermined by risks of survey fatigue and overly taxing choice tasks.
        224.     Researchers have shown that a typical survey should last no more than 30

minutes, and that surveys lasting longer than 30 minutes are highly susceptible to respondent

fatigue.282 When respondents become fatigued, they pay less attention to the task in front of them




282
  Galesic, M. and M. Bosnjak. “Effects of Questionnaire Length on Participation and Indicators of Response
Quality in a Web Survey,” Public Opinion Quarterly, 73 no. 2 (2009): 349-360.




                                                      143
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and increase their response speed as the survey length increases.283 Specifically, responses to

questions positioned later in the survey tend to be quicker, with less consideration given to the

task, and more uniform than responses to questions positioned near the beginning of the

survey.284 Thus, data quality can suffer as survey length increases. Because in Professor Hauser’s

survey, his choice exercise with 16 tasks is at the very end of the survey, it is susceptible to

quicker and poorer quality responses.

        225.     For each respondent in Professor Hauser’s survey, I reviewed statistics for how

long it took for the respondent to complete the survey from start to finish. Professor Hauser

indicated that he dropped the fastest 10 percent and slowest 10 percent of respondents, among

other criteria, in order to eliminate respondents with potentially low response quality. This

resulted in a final sample of 507 respondents for smartphones and 459 for tablets.285 With respect

to the final smartphone sample, the mean completion time was 61 minutes and median

completion time was 38 minutes.286 Of the 507 respondents in Professor Hauser’s smartphone

sample, 455 completed the survey in more than 30 minutes.287 Further, 62 completed the survey




283
    Krosnick J., and S. Presser, “Question and Questionnaire Design,” in Marsden, P. and J. Wright (eds.), Handbook
of Survey Research, 2nd edition, (Bingley, UK: Emerald Group Publishing Limited, 2010): 292.
284
    Galesic, M. and M. Bosnjak. “Effects of Questionnaire Length on Participation and Indicators of Response
Quality in a Web Survey,” Public Opinion Quarterly, 73 no. 2 (2009): 349-360.
285
    Hauser Report, at ¶¶89-90.
286
    Exhibit 22.
287
    Exhibit 22. Results are comparable for the tablet survey with 433 of 459 respondents completing in greater than
30 minutes and 89 of 459 completing in more than 60 minutes.




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in more than 60 minutes.288 Such completion times suggest respondent fatigue may have

influenced the responses to the choice tasks encountered at the end of the smartphone survey.

        226.     Concerns are compounded by the complexity of the choice tasks. After reviewing

background information and the feature descriptions, which lasts a minimum of 15 minutes given

the lengths of the videos, each respondent faced 16 choice tasks. Each of these choice tasks

involved four phones that included a total of 18 specific levels of features each.289 Thus, after

accounting for a minimum of 15 minutes spent on the screening questions, the introduction text,

the feature descriptions and videos, and choice exercise tutorial, respondents that finished in 30

minutes would have had only 15 minutes to process 32 choices (16 inside choices and 16 outside

choices) covering the 1,152 features (18*4*16). Even if a respondent spent the entire 15 minutes

on the 16 choice exercise tasks, this would imply that each choice exercise task was completed in

less than one minute.

        227.     Research has shown that consumers take two or more weeks to research phones,

visit three or more different brand websites, and on average conduct seven searches online before

making a purchase.290 This raises further concerns that respondents did not have time to process

their choices sufficiently. Together, the design and complexity of Professor Hauser’s survey may




288
    Exhibit 22.
289
    Hauser Report, at Exhibit G.
290
    2013 Google Wireless Shopper Study, at 11.




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have been excessively demanding by 1) requiring too much time to take the survey and 2)

providing too little time to address the survey’s complexity.


           E.       The Responses Generated by Professor Hauser’s Survey Are Not Reflective
                    of the Actual Marketplace Environment That Professor Hauser Purports to
                    Analyze
                    1.    Professor Hauser’s survey generated numerous irrational responses.

           228.     A fundamental assumption of conjoint analysis, including the one applied by

Professor Hauser in the present case, is that respondents make rational decisions that are

consistent with economic theory. Specifically, it is assumed that respondents seek to maximize

their utility by selecting choices with features they value, and trade off with price, as well as

compare against their outside option (choosing to buy nothing or something else in the market).

As a test of the reliability of Professor Hauser’s estimates, I examined the choices respondents

made in the survey itself, to evaluate if the survey responses were consistent with the underlying

premises of conjoint analysis.

           229.     Specifically, I examined the responses generated by the 267 respondents that

reported owning a Samsung Galaxy S III.291 My analysis examined whether there was evidence

of irrational choices made by these respondents. In particular, I looked to see if any of these

respondents ever indicated that they would buy a less preferred smartphone than the Galaxy S



291
      Exhibit 23.




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                                    Price Sensitivity Analysis – Tablets
                                                             Number of                       Percent of
                                             Total         Respondents                     Respondents
                                           Number of       Insensitive to                  Insensitive to
                Price Change              Respondents      Price Change                    Price Change
         $199 vs. $299 = $100                          459                     145                     32%
         $199 vs. $449 = $250                          459                      56                     12%
         $199 vs. $599 = $400                          459                      27                      6%
         $299 vs. $449 = $150                          459                      53                     12%
         $449 vs. $599 = $150                          459                      39                      8%
         Any                                           459                     194                     42%


         F.       The Defects in Professor Hauser’s Conjoint Analysis Are Confirmed by the
                  Marketplace Predictions It Generates.
                  1.       Professor Hauser’s survey analysis is implausible with respect to the
                           amount respondents value just the features incorporated in the survey.
         238.     Professor Hauser’s survey generates implausible results related to the amounts

respondents value just the features incorporated in the survey. In the table below, I summarize

the willingness to pay price premiums associated with each of the individual smartphone features

in the context of a phone with a price of $149.300 As this table shows, the sum of the willingness

to pay price premiums for the patent-related features is $358 and the sum of the willingness to




300
   The $149 base price reported for smartphones was selected, consistent with Professor Hauser’s Exhibit P. See
Hauser Report, at Exhibit P. Willingness to pay must be calculated at a specific price point as each price level is
associated with a different parameter estimate and thus the willingness to pay will vary by the chosen base price.




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pay price premiums for all the modeled conjoint features is $1,125,301 an amount seven times

greater than the price of the reference phone.302




301
    As Professor Hauser suggests in his report, the willingness to pay for individual features is not strictly additive
because correlation between participant’s valuation of individual features and varying price sensitivity outside of the
modeled conjoint price range may result in the aggregate willingness to pay to be either higher or lower than the
sum of the willingness to pay estimates for the individual features. For example, at a reference price of $49, the
willingness to pay for the Quick Links feature is $96 and the willingness to pay for the Universal Search feature is
$82, but the willingness to pay for both features is $142, which is less than the sum of the two individual features
($178). On the other hand, at a reference price of $149, the willingness to pay for the Automatic Word Correction
feature is $102 and the willingness to pay for the S-Pen feature is $38, but the willingness to pay for both features is
over $150, which exceeds the sum of the individual willingness to pay estimates ($140). I cannot perform this exact
calculation for all features jointly because their joint willingness to pay amounts quickly exceeds the range of prices
presented in Professor Hauser’s survey. While the willingness to pay for individual features is not perfectly additive,
the order of magnitude of the presented willingness to pay amounts clearly suggest that the willingness to pay for the
entire set of features is unreasonably large.
302
    This is based on a $149 priced phone with a 5.0” screen.




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a model, such as this, with all of its shortcomings discussed above, in either in my academic

work or my work in industry.

V.     Conclusion

       265.   My opinions may change before trial if additional information from any of the

parties-in-suit or their experts becomes available. I, therefore, reserve the right to supplement

my report accordingly.




                                                            David Reibstein




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